       2:17-cr-20037-JES-JEH # 94       Page 1 of 2                                         E-FILED
                                                                Friday, 24 August, 2018 05:13:09 PM
                                                                        Clerk, U.S. District Court, ILCD


                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )       Crim. No. 17-20037
                                         )
BRENDT A. CHRISTENSEN,                   )
                                         )
      Defendant.                         )

              NOTICE OF COMPLIANCE WITH SCHEDULING ORDER

      NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and hereby gives notice that, in compliance with the existing Scheduling

Order of February 14, 2018 (R. 67), he has disclosed all available information concerning

non-Rule 12.2 expert witnesses to the government, including rebuttal experts. The

defendant recognizes his continuing duty to disclose pursuant to Federal Rule of

Criminal Procedure 16, and reserves the right to supplement this disclosure as more

information becomes available.




                                             1
       2:17-cr-20037-JES-JEH # 94        Page 2 of 2



             Respectfully submitted,

             /s/Elisabeth R. Pollock                   /s/ George Taseff
             Assistant Federal Defender                Assistant Federal Defender
             300 West Main Street                      401 Main Street, Suite 1500
             Urbana, IL 61801                          Peoria, IL 61602
             Phone: 217-373-0666                       Phone: 309-671-7891
             FAX: 217-373-0667                         Fax: 309-671-7898
             Email: Elisabeth_Pollock@fd.org           Email: George_Taseff@fd.org

             /s/ Robert Tucker                         /s/ Julie Brain
             Robert L. Tucker, Esq.                    Julie Brain, Esq.
             7114 Washington Ave                       916 South 2nd Street
             St. Louis, MO 63130                       Philadelphia, PA 19147
             Phone: 703-527-1622                       Phone: 267-639-0417
             Email: roberttuckerlaw@gmail.com          Email: juliebrain1@yahoo.com




                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




                                            2
